                   Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 1 of 45
                                                                                                                            C':9                     UElY
                                                  SUMMONS                                                          _
                                                                                                                             FOR COURT USE ONLY
                                                                                                                             b(P,ARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
AMAZON.COM, INC., AND DOES 1-50
YOU ARE BEING SUED BY PLAINTIFF:
(LO EST.4 DEMANDANDO EL DEMANDANTE):

    ANDREW GRANT HAYMORE
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
Online Self-Help Center (www.courUnfo.ca.gov/se/fhelp), your county law [ibrary, or the courthouse nearest you. ]f you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. ]f you do not know an attorney, you may want to call an attorney
referral service. ]f you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www,lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any sett!ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court wi!l dismiss the case.
IAV/SO1Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informacibn a
continuaci6n.
   Tiene 30 DIAS DE CALENDARIO despu6s de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefbnica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la cor(e. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mSs informaci6n en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en /a corte que le quede mbs cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
le d6 un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrS
quitar su sueldo, dinero y bienes sin m3s advertencia.
   Hay otros requisitos legales. Es recomendab/e que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poni6ndose en contacto con la corte o el
colegio de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un casd de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                              CASE NUMBER:
The name and address of the court is: SACRAMENTO COUNTY SUPERIOR COURT                        (Numero def Caso):
(El nombre y direcci6n de la corte es):       720 NINTH STREET
                                                      SACRAMENTO, CA 95814

The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el nfimero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
                                 ANDREW GRANT HAYMORE
               ~ ~                    P.O. BOX 278004               Clerk, by                      K. JOHNSON              Deputy
DATE:
(Fecha)
                       o Û24 SACRAMENTO CA, 95827                   (Secretario)                                          (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                               NOTICE TO THE PERSON SERVED: You are served
                                      1. 0    as an individual defendant.
                                      2.   0     as the person sued under the fictitious name of (specify):

                                      3.   0     on behalf of (specify):
                                           under: 0      CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                        other (specify):
                                      4.   0     by personal delivery on (date):
                                                                                                                                                       Page i of 1
Form Adopted for Mandatory Use                                                                                               Code of Clvil Procedure §§ 412.20, 465
  Judlclal Council of Callfomia                                       SUMMONS
                                                                                                                                                 www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]      .
          _ .. .._, ,.-..
For your protect]onaiidprivacy, p(ease.press the'Clear
                                                                                                                                                            ,......_.,
This Form•button after you have printed the.form. .;             prinf this form          Save this form '                            ~..Clear this form
                  Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 2 of 45


 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stat. Br,numbar, and adUrrss):
                                                                                                                    eiOr Cou of Cai~f
     ANDREW GRANT HAYMORE                                                                                I"
     P.O. BOX 278004
     SACRAMENTO CA 95827                                                                                      a'91'Q9f2D24
 TELEPHONE No.: (916)365-5434            FAX No.:
 EMatLAODREss: Andrew6rantLegal@maii.cwm                                                                      jOhr)SOk
 nrTostrsE,r wR (Neme): IN PRO PER                                                                                                                       , LepLity,
 SUPERIOR COURT OF CAUFORNIA, COUNTY OF SACRAMENTO
  eTREET ADDRESS: 720 NINTH. STREET                                                                           " 2CVQ21
  MAlLINGADDRESS:720 NINTH STREET
 arY AND ztP cODE SACRAMENTO, CA 95814
    BRnNCHNaaE: GORDON D. SCHABER COURTHOUSE
 CASE NAME:
                         HAYMORE V. AMAZON.COM, INC.
        CIVIL CASE COVER SHEET              l     Complex Case Designation              CASENUMBER:
 ~      Unllmlted        EJ Ltmlted            0       Counter         0     Joinder
        (Amount             (Amount
        demanded                              Filed vvith first appearance by defendant ,NceE:
                            demanded is l
        exceeds $35,000) .  $35.000 or less)      (Cal. Rules of Court, rule 3.402)        ,n
                                                                                         oE.:

  1. Check one box below for the case type that best describes this case:
     Auto Tort                                          Contract                                     Provisionally Complex Civil Litigation
     Q     Auto (22)                                   Q     Breach of contraci/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
     Q     Uninsured motorist (46)                     Q     Rule 3.740 cotlecUons (09)              []     Antltrust/Tmde reguiatton (03)
     Other PUPD)WD (Personal Injury/Property           Q     Other collections (09)       •          Q      Construction defect (10)
     Damage)Wrongtul Death) Tort                       Q                                                    Mass   tort (40)
                                                             Insurance coverage (18)                 Q
     Q     Asbestos (04),                              Q                                             Q      Securities litigation (28)
                                                              Other contract (37)
     Q     Product liability (24)                                                                    Q      EnvironmentaUToxic tort (30)
                                                       Real Property
     Q     Medical malpractice (45)                                                                  EJ Insurance coverage daims arising from the
                                                       Q     Eminent domaiNlnverse
     ®     Other PI/PD/WD (23)                               condemnation (14)                              above listed provisionally complex case
                                                                                                            types (41)
     Non-PUPD/tND (Other) Tort                         Q     Wrongful evictlon (33)                  Enforcement of Judgment
     Q     Business torRlunfair business practice (07) Q     Other real property (26)                Q      Enforcement of judgment (20)
     Q     Civil rights (08)                           Unlawful Detainer
                                                                                                     Miscelianeous Civil Complaint
     Q     Defarnation (13)                            EJ Commercial (31)                            Q      RICO (27)
     Q     Fraud (16)                                  Q     Residential (32)
                                                                                                     Q      Other complaint (not specified above) (42)
     Q     Intelleotual property (19)                  EJ QNgs (38)                                  Miscellaneous Civil Petition
     Q     Professional negligence (25)                Judicial Review
                                                                                                     0        Partnership and corporate govemance (21)
     Q     Other non-PUPD/WD tort (35)                 EJ Asset forfeiture (05)
     Employment                                        EJ Petition re: arbitraUon award (11)        EJ        Other petition (not specified above) (43)
     Q     Wronpful tennination (36)                   0     Writ of mandate (02)
     0     Other employment (15)                       []    Other judicial revlew (39)
  2. This case EJ is           ®     is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management
     a. 0      Large number of separately represented parties       d. 0Large number of witnesses
     b. EJ Extensive motion praotice raising difficult or novel     e.  0       Coordination with related actions pending in one or more
               issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
     c. EJ Substantial amount of documentary evidence                          court
                                                                    f. 0       Substantial postjudgment judioial supervision
  3. Remedies sought (check all that apply): a. []       monetary b. ®      nonmonetary; declaratory or injunctive relief c. ®        punitive
 4. Number of causes of ac6on (specify): ELEVEN
• 5. This case EJ is           ®     is not   a class. action suit.
  6. If there are any known related cases, file and serve a notice of related •case.
 Date: JANUARY 9TH 2024
               ANDREW GRANT HAYMORE
                                                                            NOTICE
 •  Plaintiff must file this cover sheet with the flrst paper filed In Yhe action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in
 • File this cover sheet in additlon to any cover sheet required by local court rule.                                                        sanctions.
 • If thfa case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this.cover sheet all other
                                                                                                                                   on      partfes to       --                 —
   the action or proceeding.
 • Unless thls Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical
                                                                                                                         purposes only.          Page 1or s
F°n° Adu°ted f°r "Aandn"ry U'°                                                                                 Cal. Rulea of Co"rt, nA°° 2.30, 3.220, 3.400-.9.403. 3.740;
Judiclal Coundl of CalHomia      •                          CIVI
                                                              .. L
                                                                 . CASE COVER SHEET
CM-010 tRev. Janoary 1, 20241                                                                                          Cal. StmWartlsof JuQlelal Atlrnlnlstration, ntC. 3.10
                                                                                                                                                      Nyyw.totnts.ce.pov
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                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                                 CM-01 0
 To PlaintitTs and Others Flling Flrst Papers. If you are filing a first paper (forexample, a complaint) in a civil case, you must
 cornplet® aridf le; a(ong with your first paper, the Civil Case Cover Sheet contained on page 1. This infomiation will be used to compile
 statisUcs about the types and numbers of cases flled. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has mulbple causes of action, check the box that best indicates the prlmary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case tYPe in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to fiie a oover sheet with the first paper filed in a civil case may subject a party,
 lts counsel, or both to sanctions under rules 2.30 and 3.220 of the Califomia Rules of Court.
 To Parties In Ruie:3.740 Collectlons Cases. A"collections case" under iule 3.740 is defined as an action for recovery of money owed
 in a sum stated to be certain that is not more than $25,000, exdusive of interest and attomey's fees, arising from a transaction in which
 property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery'of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a nile 3.740 copections case on this form means that it will be exempt from the general
•time-for-servioe requirements and case management rules, unless a defendant flles a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Partles In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court, this must,be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintifFs designation, a counter-designaUon that the case is not complex, or, if the piaintiff has made no designation, a designation that
 the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                    Contract
                                                                                                            Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property           Breach of ContracUWarranry (06)
                                                                                                            Rutes of Court Rules 3.400-3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease
                                                                                                                 AntitrustlTrade Regulaflon (03)
        Uninsured Motorist (46) (it the                     Contract (not unlawful detainer
                                                                                                                 Construction Defect (10)
        case involves an uninsured                              or wrongful evictfon)
                                                                                                                 Claims Involving Mass Tort (40)
           motorist dalm subjecf to                    Contract/Warranty Breach—Seller
                                                                                                                 Securities LiUgation (28)
         arbftration, check this item                       Plaintiff (not fraud or negligence)
                                                                                                                 Environmental/Toxlc Tort (30)
         instead ofAuto) ,                             Negligent Breach of Contract/
                                                                                                                 Insurance Coverage Claims
  Other PUPD/WD (Personal Injury/                           Warranty
                                                                                                                      (arising lrom provisionally complex
  Property Damage/Wrongtul Death) Tort                 Other Breach of Contract/Warranty
                                                   Collections (e.g., money owed, open
                                                                                                                      case type listed above) (41)
       Asbestos (04)                                                                                        Enforcement of Judgment
          Asbestos Property Damage                     book aacounts) (09)
                                                                                                              Enforcement of Judgment (20)
          Asbestos Personal Injury/                    Collecbon Case—Seller PlainUff
                                                       Other Promissory Note/Co!lections Case
                                                                                                                  Abstract of Judgment (Out of County)
               Wrongful Death                                                                                 Confession of Judgment (non-domestic
       Product Liability (not asbestos or         Insurance Coverage (not provlslonally
                                                                                                                   relations)
          toxirJenvironmente) (24)                     complex) (18)
                                                      Auto Subrogation
                                                                                                               Sister State Judgment
       Medical Maipractice, (45)                                                                               Administrative Agency Award
            Medical Malpraotice—                      Other Coverage
                                                                                                                  (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)
                                                                                                               PetiBon/Certification of Entry of
       Other Professional Health Care                 Contractual Fraud
                                                       Other Contract Dispute
                                                                                                                   Judgment on Unpaid Taxes
              Malpradtce                                                                                       Other Enforcement of Judgment Case
       Other PI/PD/WD (23)                     Real Property
                                                  Eminent Domain/Inverse
                                                                                                            Miscellaneous Civil Complaint
           Premises Liability (e.g., slip                                                                      RICO (27)
                and fall)                             Condemnat]on (14)
                                                  Wrongful Eviction (33)
                                                                                                               Other Complaint (not specified above) (42)
           Intentionai Bodily Injury/PD/WD                                                                         DeGaratory Relief Only
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)
                                                      Writ of Possession of Real Property                          (njunctive Relief Onty (rion-
           Intentional Infliction of                                                                                    harassment)
    •           Emotlonal Distress                    Mortgage Foreclosure
                                                      Quiet TIUe                                                   Mechanics Lien
           Negligent Infliction of                                                                                 Other Commercial Complaint
                 EmoUonal Distress                    Other Real Property (not eminent
                                                                                                                         Case (non-tort/non-complex)
           Other PI/PD/WD                             domain, landloni/tenant, or
                                                      foreclosure)                                                  Other Civil Complaint
  Non-PI/PD1WD (Other) Torf
                                               Untavrful Detalner                                                        (non-tort/non-complex)
      Business Tort/Unfair Business                                                                         Miscellaneous Civil Petition
          Practice (07)                           Commercial (31)
                                                  Residenflal (32)                                             Partnershlp and Corporate
      Civil Rights (e.g., discrimination,                                                                          Oovemance (21)
            faise arrest) (not civil              Drugs (38) (if the case involves lllegal
                                                  drugs, check this.item; ofhenvise,                           Other PetiUon (not spedtfed above) (43)
           ,harassment) (08)                                                                                       C1vi1 Harassment
      Defamation (e.g., slander, libel) (13)      report as Commercial or Residential)
                                               Judicial Review                                                     Workplace Violence
      Fraud (16)                                                                                                   Elder/Dependent Adult Abuse
      Intehectu_al Property (19)                  Asset Forfeiture (05)
                                                  Petttion Re: ArbitraUon Award (11)                               Election Contest
      Profeasional Negligence (25)                                                                                 PetiUon for Name Change
            Legal Maipractice                     Writ of Mandate (02)
                                                      Writ—Administrative Mandamus                                 Pelition for Relief From Late Claim
       Other Professional Malpractice                                                                              Other Clvil Petitlon
          (not medical or legal)                      Writ—Mandamus on Limited Court
    Other Non-PI/PD/WD Tort (35)                         Case Matter
 Employment                                           Writ—Other Limfted Court Case Review
    Wrongful Termination (36)                     Other Judicial Review (39)
    Other Employment (15)                             Review of Health Officer Order
                                                      Notice of Appeal-Labor Commissioner
CA4-O10 tRev. Jartuary 1, 2024]
                                                        CIVIL CASE COVER SHEET                                                                    Pag. 2 of 2

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                                                                          form               SaVe•this forrri                          1 c      "s f:ar;
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1    ANDREW GRANT HAYMORE
     P.O. BOX 278004
2    SACRAMENTO CA, 95827
     (916)-365-5434
3    AndrewGrantLegal@gmail.com
4    ANDREW GRANT HAYMORE, IN PRO PER
5

6

7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA                            :

 8                                COUNTY OF SACRAMENTO
 9

10

11                                                Case No.:
12         ANDREW GRANT HAYMORE,
13                   Plaintiff,                 COMPLAINT SEEKING DAMAGESAND
                                                   DEIVIAND FOR JURY TRIAL
14

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                                                  VI.    INJUNCTIVE RELIEF... ...page 31
18                  Defendants:                   VII.   COMPENSATORY DAMAGES,
                                                         PUNITIVE DAMAGES,
19                                                       REQUEST FOR JURY TRIAL _
                                                         ...page 33
20

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                       HAYMORE V. AMAZON.COM INC. * COMPLAINT PAGE 1
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                                                    _......_................ .. .
1                                                  II. GLOSSARY
2


3            1:    THIS GLOSSARY HAS BEEN PREPARED TO PROVIDE FOUNDATIONAL
4      KNOWLEDGE FOR ONLINE. GAMING TERMINOLOGY, LIMITED MEDICAI.
5•.•   TERMINOLOGY, AND TO AID THE READER IN UNDERSTANDING TERMS, WORDS
6      AND DIFFERENT ACRYONYMS CONTAINED IN THE COMPLAINT. THIS GLOSSARY IS
7      BY NO MEANS AN ACADEMIC, PROFESSIONAL, OR OFFICIAL REFERENCE. SIMPLY
 8     SHOULD BE USED BY READERS TO UNDERSTAND BASIC TERMINOLOGY USED IN
 9     ONLINE ROLE-PLAYING GAMES, AND FUNDAMENTAL TERMINOLOGY ASSOCIATED
10     WITH "NEW WORLD," (THE ONLINE VIDEO GAME) PUBLISHED BY AMAZON GAMES
11     (Formerly known as Amazon Games Studio or AGS) WHOSE PARENT COMPANY IS
12     AMAZON.COM, INC.
13                                              [BEGIN GLOSSARY]
14


15            2.       CHF OR CONGENSTIVE HEART FAILURE: May also be referred to as HF. Heart
16     failure can occur if the heart cannot pump (systolic) or fill (diastolic) adequately, to provide blood
17     to the body.
18            3.       CODE OF CONDUCT (Within New World the Video-Game): Amazon.com Inc. has a
19     duty to create a non-toxic gaming environment, even by their own standards. In the NEW
20     WORLD support center, there is a category called "Disruptive conduct. It is stated as follows:
21            "Sections 1 and 2 within the Code of Conduct outline the following guidelines: "Treating
22     other players•the way they want to be treated" and "Playing to enjoy the game." A Disruptive
23     Behavior penalty means the player engaged in disruptive behaviors that violate those guidelines.
24            Violations include, but are not linuted to:
25            • Harassing/Threatening Players
26                 -     Example: Continually sending messages to the same player against their wishes.
27            • Toxicity
28                 -     Example Berating other players for struggling in group content.



                               HAYMORE V. AMAZON.COM INC. * COMPLAINT PAGE 2
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1          [Code of Conduct Continued:]
2          • Bullying
3                -    Example: Taking part in our encouraging others to be verbally negative towards
4                     ano.ther player.
 5          • GRIEFING / TROLLING
 6               -    Example: Repeatedly dying in events to grief allied players.
 7               Impeding/Sabotaging group play"
 8


 9          4®       DDS OR DYNAMIC DIFFICULTY SCALING: Dynamic Difficulty Scaling as
10   defined and described by Plaintiff is a technology or coding & end-game mechanic, created by
11   Amazon Game Studios that dynamically, or in real time, changes the difficulty level of a Dungeon.
12   This technology operates behind the User Interface of New World, and there is no alert or
13   notification when a dungeon has been dynamically scaled. This technology is highly exploitable by
14   abusive and malicious players; as they can use. it in real time to manipulate the difficulty of the
15   dungeon, and worse they can do so anonymously, causing the dungeon to increase in difficulty
16   unbeknownst to any of the players. In fine this technology is parasitic to New World's end game
17   design, as it is often triggered simply by players swapping gear, or worse, when malicious players
18   remove gear to force the dungeon difficulty to be increased to a level that is impossible to win.
19


20


21          5.       DISCORD SERVER or DISCORD: Discord is a platform for hosting real-time text,
22   video, and voice chat. While other social platforms are oriented around one central community,
23   Discord is divided into servers or smaller specific communities. Servers can be public or private.
24   You can join a big community server for people who share a common interest or create a smaller
25   private server for a group of friends. This complaint will• focus solely on the New World official
26   Discord server, so all references to DISCORD should be interpreted as specifically the Server
27   created and operated by Amazon.com Inc, for New World the Video Game and its community.
28




                             HAYMORE V. AMAZON.COM INC. * COIVIPLAINT PAGE 3
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.1          6. DUNGEON, MUTATION, Ml0 OR M3: Also known as Dynamic Instance, is a
               ......................   _
2    temporary virtual world, which disappears when all the players leave it. The. Pinnacle of New
3    World's End-Game, is Dungeons, and MUTATED DUNGEONS in which the difficulty is raised,
4    and different effects are applied to provide a deeper challenge to a 5 player composition.
5'   Whenever the term DUNGEON is used or Dungeon it should be implied that the highest difficulty
 6   (Now M3, formerly Ml0) is the type of Dungeon that is being discussed in the complaint. A
 7   Dungeon again, is not a persistent or open world as in the term MMO-RPG which means
 8   Massively Multiplayer Online-Role Playing Game, which revolves around an open "sandbox"
 9   persistent world. A dungeon again, is a temporary dynamic instance, primarily used to present a
10   challenge and offer unique rewards, the victory being shared by a 5-player team, in New World.
11

12          7. GATEKEEPING or GATEKEEP: Gatekeeping is a term created by New World
13   players, used to refer to GRIEFING (see GRIEF in Glossary) and stalking of players who might
14   rise in their positions on the Leaderboard, within New World. Gatekeeping is used to prevent
15   other players from positioning themselves favorably on the leaderboards. It is more commonly
16   used by Large In-Game Guilds (See GUILD in Glossary) and by more organized groups of play~
17   who wish to keep other players from being displayed on the leaderboard or rising in the
18   leaderboards.
19

20          8. GRIEF or GRIEFING: An intentional form of cyberbullying, often viewed as trivial
21   to seasoned gamers, but can also result in intense emotional distress to the subject of the grief, or
22   griefing. These actions committed in an online world can range from simple jokes, to full on
23   verbal assaults, they can be executed by an individual, or a group of individuals. They can be
24   actions that are very mild, or extremely abusive and toxic. They can be actions of cyber stalking,
25   within the game, to intentionally disrupt or manipulate the gameplay experience of another. In
26   fine, grief can be described as any action that is intentionally causing another player to experience
27   grief, the actual word grief, defined by its most basic textbook and dictionary form.
28




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1                   9.    GUILD: In New World 100 player organizations are referred to as a"company" but
2        because the terminology may be confusing in this Civil Lawsuit and Complaint, we will refer to
3        these In-gaine organizations as Guilds Hereinafter.
4

5                   10.    LEADERBOARDS: A system for ranking groups of players, and their score that is
6        published and displayed to the New World server. Players who are oftentimes overzealous to
.7       maintain their position on the leaderboard, will operate maliciously to join other Dungeon
 8       Lobbies, or player groups, with the intention of applying DDS (see eritry in Glossary), to make the
 9       dungeon unplayable. And to preserve their positions on the leaderboards.
10

il                  11.    NPC: NON-PLAYER CHARACTER: Artificial intelligence, creatures, monsters,
iz       bosses with whom players interact. It is important to distinguish NPCs from PCs or PLAYER
13       CHARACTERS.                               •
14

15                  12.    NWOD OR NEW WORLD OFFICIAL DISCORD: .Discord is a 3rd party
16           application not owned or operated by AMAZON.COM INC, originally created for gaming,
17           provides implementation of VOIP or Voice over IP services, and chat services. Today many
18           businesses are beginning to implement Discord because of its easy to use, and organized
19           dissemiriation of information to large communities. Servers can be customized and tailored for
20           groups or communities• of any size, small or great.                        .
21

22                  13.    PVP, PVE and PC: PVP is Player Verus Player, typically in virtual combat or
23           activities specifically designed to engage directly with other players. PVE is Player Versus
24           Environment, generally a virtual activity with'NPCs and Artificial Intelligence. PLAYER
zs           CHARACTER (Online digital representation of an actual human player controlling an "avatar"
a 6 • or "character" in the online digital video game and online digital world). PC is the opposite of an
27           NPC.
28




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1                        14.   TROLLING OR TROLL: Trolling is similar to GRIEF and GRIEFING. It is
2        rooted in cyberbullying, because this is the circumstance in which it is most usually applied. Its
3        design is to get a reaction or watch the reaction of other people to the "Tr_oll." A Troll can refer to
4        the action by the person trolling or the Troll himself (The actual person is the troll, their act is a
 5       troll, and they are trolling.) It can range from_levels of friendly, mild, benign, and funny. To all
 6       out hateful, dangerous, and extremely malicious and can cause serious long lasting detrimental
 7       effects on the subject, or the person subjected to the trolling.
 8


 9           •                                                 [   End of Glossary]
10


11               .                                [   Reserved for future Amendments]
12


13


14


15


16                                                                 ,    .


17                                  •                              End of Glossary       .
18


19


20


21


22                                            •          [   Proceed to the next page]
23                                                                                           •


24                                                                                               •
                     •

25


26                                                [   Reserved for future Amendments]
                                •

27


28




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1                                      III. NATURE OF. THIS CASE
2

3          15.    Over the course of approximately seven months beginning in May 2023 through
4    November 2023, Plaintiff declares he was the victim of aggravated cyber harassment (CPC
.5   §653.2), aggravated cyberstalking (CPC §646.9), and aggravated cyber bullying by employees of
 6   Amazon Games (hereinafter as AG or AMAZON GAMES), formerly known as Amazon Games
7    Studio. Plaintiff declares that Amazon.com Inc., (Hereinafter as AMAZON) is the parent
 8   company to AG, creators of the online matrix and Video Game, New World — which facilitated
 9   random players and organized groups of players and gave them the platform and ability to
10   commit acts of aggravated cyber harassment, aggravated cyberstalking, and aggravated cyber
11   bullying against the Plaintiff over the course of approximately seven months. Plaintiff is a disal
12   USARMY Veteran who also suffers from Complex Childhood PTSD, and Complex PTSD.
13          16.   This complaint is being filed on January 9th, 2024, approximately 47 days after
14   Plaintiff was released from emergency room hospitalization. On November 20tr'-23rd 2023,
15   Plaintiff was •hospitalized for 4 days suffering nearly unto death, in what was described in medical
16   •discharge records as L6Acute exacerbation of Congestive Heart Failure". CHF is a new medical
17   diagnosis for the Plaintiff as of Nov 20tb, 2023. Diagnosed with CHF by two Emergency rooms firsl
18   Kaiser South Sacramento Noe 20th, 2023, and second Sutter Roseville Nov 21rst 2023.
19          17. " Plaintiff contacted.AMAZON GAMES chat support on August 23rd, 2023,
20   coniplaining about in-game harassment, and again on September 9th, 2023. Tickets were created
21   online. Afterwards phone calls were made to Amazon.com Inc., due to AMAZON GAMES
22   intentionally closing web support chats, during his distress calls for help. Plaintiff kept audio and
23   video recordings of interactions with AMAZON and AG employees, who at times also ignored his
24   pleas for help. These exhibits will be provided with the motiori for Preliminary Injunction.
25          18.   On November 8th, 2023, Plaintiff declares that JOHN DOE #1, aka "TrevzorFTW"
26   (his Discord user name), AG Employee, was acting Community Manager, when Plaintiff was
27   removed and Permanently Banned from the New World Official Discord (Hereafter referred to as
28   DISCORD). A series of faulty timeouts were administered by AG Community Management,



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                                                   _._ .......

     and an action of abuse of power, and unrighteous dominion, was exercised upon the Plaintiff.
2    Rendering him unable to speak within the community, and then after toying with the Plaintiff, he
3    was Permanently Banned and exiled from the New World Official Discord.
4          19. Plaintiff created a video reproduction of the timeouts in the DISCORD on another
5    account, showing that Plaintiff's language was not hostile or against any EULA, therefore Plaintiff~
6    was being targeted by AG employees, whose sole purpose was IIED. The Exhibit will be given to
 7   the court with the motion for preliminary injunction. AG Community Management, led by JOHN
 8   DOE #1 aka "TrevzorFTW", also created the "gamertag" or "alias", "Dojii", as a"community
 9   flagged word." Plaintiff is _"Dojii9' (YouTube & Twitch.tv) and has invested over 10,000 hours in
10   his New World accounts, and over $1700 USD in digital purchases. AG to this day refuses to
i1   provide any support for this act of bizarre and unrighteous dominion. Where Amazon Retail will
12   immediately refund you for a $5 dollar bag of chips if they are sour.
13          20. On November 8th Plaintiff continued to fear for his safety, and for the safety of his
14   investment of over 10,000 hours in his New World accounts. Plaintiff suffered intense emotional
15   stress and anguish while trying to resolve being wrongfully banned from DISCORD. Plaintiff
16   turned to Amazon.com Inc.'s retail department to resolve this issue to no avail. However,
17   AMAZON employees confirmed that a "behavioral Investigation" would begin. This particular
18   "behavioral department" administrates over the actions of Amazon employees. The results or
19   details of the investigation would not be released to Plaintiff, according to phone calls with
20   AMAZON.
21          21. On November 17"' Amazon Retail Employee confirmed to Plaintiff that he was
22   subject to abuses by AG Employees. An Amazon.com, Inc., Specialized Escalation Agent stated to
23   Plaintiff that Amazon Staff "was found manipulating your in-game experience." This
24   manipulation occurred for approximately 7 months, triggering Plaintiffs PTSD unceasingly, and
25   resulting in the development of Plaintiff's Congestive Heart Failure — and exacerbation of CHF
26   resulting in Emergency Room Hospitalization, 5 days later, on Nov 20th, 2023, at Kaiser
27   Permanente South Sacramento. Exhibits of the recording will be provided to the courts with the
28   motion for preliminary injunction.



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                                                                                                            71
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  1           22.   Plaintiff was transferred by family to Sutter Roseville Nov 21rst, 2023. In fine,
  2    Plaintiff suffered intense grief, stress, and emotional anguish over being harassed within New
  3    World, both by AG Employees (Live Testers, Moderators, Admins, Developers, Community
  4    Management, others) and random players, and by players from larger GUILDS working in
  5    concert to GATEKEEP and GRIEF; AG Community Management acted both intentionally and
  6    with reckless disregard to exacerbate CHF caused by AMAZON & AG—resulting ultimately in
  7    emergency room hospitalization and permanently disabling Plaintiff for life.
  8           23.   Plaintiff was. also repeatedly struck down by AMAZON & AMAZON GAMES
  9    essentially non-existent customer support in the matters of the harassment. In fine, after 7 montl
 lo    of GRIEF and intense emotional distress Plaintiff declares that Amazon.com Inc, and its
 11    constituents has caused him to develop Congestive Heart Failure. That the actions of and/or
 12    neglect of JOHN DOE #1 "TrevzorFTW", and the collective AG Community Management acted
 13    both intentionally and with reckless disregard to exacerbate CHF caused by AMAZON—resultai
 14    ultimately in emergency room hospitalization and permanently disabling Plaintiff for life.
 15           24.   In subjecting Plaintiff to wrongful treatment, and because of the reckless,
 16    and vehemently malicious symphony of Corporate Abuses, inflicted upon an. already disabled
 17    Veteran of the United States Army; Plaintiff is therefore entitled to the recovery of punitive
 18    damages pursuant to California Civil Code § 3294. This complaint will begiq to document the
 19    Malicious, Fraudulent, and Oppressive behavior of Amazon.com Inc. and its employees,
 20    branching into AMAZON GAMES, who, acting in concert have appendages which are both
 21    conscious and unconscious, effectively creating a machine whose power is unmatched, and
  22   resources unlimited, a machine that is able to abuse, exploit, and destroy with impunity.
  23

• 24                                        IV. Jurisdiction and Venue
  25          25.   This court has subject matter jurisdiction, and requisite contacts as Plaintiff is a
  26   ~ resident of the city of Sacramento, in Sacramento County, and Amazon.com, Inc. does business
  27   l here in the State of California. California Code of Civil Procedure § 392 through 403. All injuries
  28   l to Plaintiff occurred in Sacramento, California, and online via Amazon.com, Inc services.



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1                                             V. CAUSES OF ACTION
2

3

 4                                          FIRST CAUSE OF ACTION:
 5                         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 6                     (Persistent IIED as a result of Seven Months of combinecl cyber-assaults)
 7

 8               26.   AMAZON as a Corporate Entity (power) and its employees within AG, harassed,
 9    stalked, and cyberbullied Plaintiff across a span of seven months, and/or facilitated these actions
lo    by creating an online environment to facilitate stalking, cyberbullying, harassment, and the
11    intentional infliction of emotional distress. As a direct result of Dynamic Difficulty Scaling
12    (Hereafter referred to as DDS see Glossary), and the creation of the Leaderboards within New
13    World — it created a tozic, gatekeeping underbelly, where random players, organized GUILDS
14    and AG Employees could exploit DDS. As a result of this poorly designed end-game Meclianic
15:   formerly known as the M10 Dungeon difficulty, New World's End-Game was rampant with
16    GREIFERS, TROLLS, and GATEKEEPING, a form of anonymous and invulnerable PVP
17    (Player Verus Player) GRIEFING, within the intended PVE (Player Verus Environment) video-
18    Igame matrix.
19               27.   When DDS was and is applied to a dungeon, there is no notification or alert to
20     players, and malicious players with ill-designs, can gleefully watch the utter collapse of an End-
21    Game dungeon. Plaintiff informed AMAZON and AG of this terrible design flaw in August 2023
22     in the form of a support ticket along with multiple player reports of harassment. Plaintiff also
23     created a Bug Report in the DISCORD which was acknowledged by JOHN DOE #2 aka "Fenne"
24     AG Developer or Community Management Employee, who never acted upon or escalated this
25    I issue.
26               28.   Plaintiff was also harassed and TROLLED by "helpful" role ["helpful" is the name
27     of the actual Discord user Role, it can be likened to a badge worn bysecurity] tagged users in
28




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1    DISCORD ("Helpful" role is a band of Amazon defending zealots, and apologists who were
2    appointed by AG and likely AMAZON or AG Employees acting on alternative accounts-
3    --or friends of AG employees, this requires investigation, auditing, •and oversight.); Plaintiff was
4    harassed by these "Helpful" AMAZON/AG appointed users forcomplaining about DDS.
 5   The "helpful" tagged user roles frequently engage in distracting customers from giving
 6   meaningful feedback and participate in TROLLING Amazon customers.
 7          29.   Plaintiff was relentlessly harassed, stalked, and cyber bullied in the New World.
 8   game, published by AMAZON GAMES; Primarily through the design that has been referred to
 9   Dynamic Difficulty Scaling — where anonymously, players can manipulate their Gear Score — in
10   turn manipulating the difficulty of the dungeon. One person can raise the difficulty; and apply
11   that effective difficulty forcibly upon the other four players, without their knowledge or consent,
12   because these effects are applied behind the User Interface. One anonymous player (either AG
13   community management, or moderators, admins, developers, game masters, random player,
14   organized group of players, in f'me anyone that desires to GRIEF) one player has the power to
15   grief the pinnacle of New Wor1d's End-Game design and ruin the fun for everyone else in the
16   dungeon lobby, Essentially subjecting the entire lobby to GRIEF and forcing them to play a game
17   they can never win.                                                             •
18          30.   AMAZON/AG acted recklessly and intentionally by participating in
19   GATEKEEPING of the leaderboards and facilitated GRIEFING by creating and maintaining a
20   virtual-matrix or online world, which made it possible to GRIEF as much as-any ill-disposed/ill-
21   designed malicious player could desire (or any player with ill intentions). As any player can link
22   nice gear to join a lobby, then switch their gear to fall below gear score, apply the Dynamic
23   Difficulty Scaling, and ruining the lobby for everyone else. Some players exploit DDS to
24   GATEKEEP, some players exploit DDS to troll, some for both.
25          31.   Due to the collective conduct of Amazon Employees and random players, random
26   -TROLLS, and organized GUILDS, and organized groups of players; these parties actively
27   exploiting DDS for 7 months, triggering Plaintiffs' PTSD, subjecting plaintiff to HED, causing
28   plaintiff to develop CHF and exacerbating CHF. Resulting in near-death, and emergency room



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1    hospitalization, development of Sepsis, Pulmonary Embolism, Anemia, and other life-threatening
2    complications during his hospitalization, permanently disabling Plaintiff for life.
3           32.   AMAZON/AG employees had no privilege to abuse Plaintiff as a consumer. As a
4    customer. In this setting AMAZON/AG is providing a service, which Plaintiff is paying for.
5    However, Plaintiff could not fully enjoy the service due to the outrageous and collective behavior
6    and reckless negligent disregard of its employees. Both in facilitating and participating in differenl
 7   actions of GRIEFING and TROLLING.                    .
 8


 9                                     SECOND CAUSE OF ACTION:
10                                         GROSS NEGLIGENCE
11                          (General overall negligence, duty to carefor customer)
12


13          33.   How was their conduct outrageous? AMAZON has a duty to the consumer to keep
14   the gaming environment safe and free of cyber stalking, cyber bullying, and cyber harassment.
15          34. • AMAZON intentionally used their capabilities online, to cyberstalk, cyberbully, and
16   harass with a mob mentality, and allowed other players to do it too. This included more than one
17   individual engaging in this behavior. They intended to cause infliction of emotional distress
18   because they knew their action would cause harm emotionally and physically with reckless
19   disregard for a person's and specifically the Plaintiffs' wellbeing. They also assumed they would
20   get away with their actions• due to being anonymous.
21          35.   AMAZON knew their actions were outrageous because they were protected by
22   anonymity. They did not refrain from such outrageous, reckless, and deplorable behaviors.
23


24


25


26

27                                            [Proceed to the next page]
28




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      .. . .. .     ....     .      . . . - --     _. _.. ........._ ... _...---. ... .

1                                                THIRD CAUSE OF ACTION:
2                          UNLAWFUL, UNFAIR, AND FRAUDULENT BUSINESS PRACTICES
3                                (Unfair Competition Law, Business and Professions S17200, 17500)
4:

5                 36.      Amazon to most people is known for its great customer support. Fast and "Free"
 6   l two-day delivery guarantees. However today there are many faces of AMAZON as it is evolving to
 7     secure itself as an insatiable monopoly. Amazon.com Inc., owns and operates Twitch.tv the most
8    successful Video-Game live streaming platform. Long before other social media platforms could
 9   even dream of implementing Live-Streaming as a service — Twitch.tv and AMAZON was (and still
lo   is) the original live streaming super-giant.
11                37.      Because of this long connection with Video Games and Gaming, it was inevitable that
12   AMAZON would expand its businesses into the Gaming Development and Publishing world.
13   AMAZON created Amazon Games Studio, (now AG) fashioned their own Graphics Engine, and
14    publislied their first game, New World which was released post-covid pandemic on Sept 28, 2021.
15                38. AG has been successful in many ways, and a massive failure in others but all of its
16    failures are bolstered by AMAZON and its seemingly endless, power of revenue. AG's greatest
17    failure is the complete departure from Customer Care. Amazon Retail can be referred to as
18    "Amazon Heaven" where, as stated earlier they will fight tooth and nail to replace a $5 dollar bag
19    of chips that has gone sour—but "Amazon Heaven" is starkly contrasted by its counter~opposite
20    "Amazon Hell" which is AMAZON GAMES. AMAZON is now gorging itself on revenues, as it
21    peddles and sales digital goods by the droves to New World players in the form of "Cosmetics".
22    These are simply graphical enhancements to a players in-game Character, it could be a fancy hat,
23    or a pretty dress. A Noble steed to ride or a mighty sword to wield.
24                39.      The scary reality is that these are simply just graphics, sold at price ranges referred
25    to as "Micro-transactions" ranging from $5-$45-dollar packages. For which there are essentially
26    no trade ins, no refunds and no support. However this cause of action is not meant to criticize a
27    mere business practice but yet again — emphasize the departure from quality customer care. For
28    example Plaintiff has accrued more than 10,000 hours investment in his New World—



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1    --ga.meaccounts,. and spent over $1700 for simple graphics and pixels, which can be endlessly
2    supplied and infinitely generated by AMAZON for nearly Zero-costyet they are unable to
3    provide the smallest inkling of support when there is issues of Harassment, or abuse of power by
4    its employees as previously stated in the complaint. This stark contrast between "Amazon
 5   Heaven" and "Amazon Hell" is where the Tort of fraud begins to manifest. Gamers are seduced
 6   by the• appealing AMAZON name, Plaintiff has been a "Prime-Member" for some 7 years, yet
 7   now has seen the uglier and more destructive side of AMAZON, as he is forever disabled because
 8   of the companies' lack of policy, and neglect.
 9          40.   AMAZON GAMES is a grand departure from customer care, and AMAZON policy,
10   as stated previously from the "Amazon Heaven" we referred to earlier. Yet there is an even
11   darker side of AMAZON, in its DISCORD administr.ation. AMAZON GAMES has drifted so far
12   from Customer Care and AMAZON policy, and their "Rogue" administration that operates with
13   impunity in the DISCORD server; drifts even further away from AMAZON policy and represents
14   worst side of this reality, in departure from customer care. Namely because now, these employees
15   are operating on a 3rd party platform, without oversight, without auditing, within AMAZON
16   GAMES, Far—Far—away from any form of duty to Customer Care, and even further away from
17   accountability, because DISCORD and AMAZON's Customer's privacy, chat inputs, texts, and
is   every form of communication is managed and essentially owned and operated by a completely
19   different company, known as Discord Inc.
20          41.   In this context AG can employ their own whimsical policies as has been discussed
21   outlined in'this complaint, as well as freely abuse customers from Alternative "Ghost" accounts,
22   and AG staff has appointed their own "aristocracy" labeled "helpful" role, to now effectively
23   "control and troll" aniioying & unruly AMAZON customers. These "helpful" role discord users
24   are TROLLING, abusing, harassing, deflecting, and altogether disrupting the last shred and fiber
25   of customer care that is essentially dead at this spectrum of AMAZON services. In fine DISCORD
26   can'be viewed as the planet furthest from the Sun.
27


28




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1                      42: --.We can refer to the sun as AMAZON where all policy, and procedure is dispensed.
2        The further we get from the sun the darker and colder it gets. AMAZON GAMES and DISCO]
3        are so far away and detached from the normal support and service Plaintiff has received after 7+
 4       years of being a Prime-Member and AMAZON customer.
 5                     43.   Plaintiff received a support e-mail again out of nowhere January 2°d 2024, strangely
 6           because Plaintiff has not opened any support tickets since before hospitalization (November 2023),
 7           it contains the same•copy-paste spam as the previous replies, with footnotes reading "Earth's Most
 s           Customer-Centric Company". •It is just very strange behavior coming from that Studio and these
 9           exhibits will be provided with the motion for injunctive relief. It is very strange because Plaintiff
10           requested specifically not to be contacted by AG and has not contacted AG since November 2023..
11           Plaintiff was assured that notes would be added to his Amazon Retail / Amazon-Prime account
12.          that they would not transfer his support issues to AG further. AMAZON Retail assured Plaintiff
13           that they would•be working to resolve this issue outside of AG, through a"behavioral" _
14           investigation of its employees. Plaintiff declares that "Earth's Most Customer-Centric
15           Company"... their game studio, AG, is being managed, or rather among their management team
16           on all levels, exists some predatory and toxic gamers. These toxic andpredatory gamers amongst
17           management, exist on both Administrative levels, and supportive levels. AMAZON would be wise
18           to begin to heavily audit their administrative powers by an oversight committee. Especially over
19           any powers where New World Game Admins can generate in game assets such as characters. and
20           gold. .                                                                     •
21                     44. A11 of these circumstances created by the "bait" from Amazon, using its name and
22    I 1•
             representation, to gain the trust of consumers, and funnel them into a severely mismanaged and
23           toxic gaming universe. These actions are fraudulent and unfair to consumers.
24


25


26

27                                                      [Proceed to the next page]
28




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1.                                        FOURTH CAUSE OF ACTION
2                                             GROSS NEGLIGENCE
3                 (Acts of negligence specific to neglecting the in-game environments and design)
4

5          45.         Plaintiff declares that AMAZON created this video game, that AMAZON created
6    this virtual reality, known as New World. AMAZON created the system in which players can
7    freely GRIEF and cause pain and suffering to each other, within an intended PVEmatrix.
 8   AMAZON has a duty to create a non-toxic environment, even by their own standards. In the
 9   NEW WORLD support center, there is a category called "Disruptive conduct. It is stated as
10   follows:
11          46.        "Sections 1 and 2 within the Code of Conduct outline the following guidelines:
12   "Treating other players the way they want to be treated" and "Playing to enjoy the game." A
13   Disruptive Behavior penalty means the player engaged in disruptive behaviors that violate those
14   guidelines.
15          Violations include, but are not limited to: .
16          • Harassing/Threatening Players             .
17                -     Example: Continually sending messages to the same player against their wishes.
18          • Toxicity             .
19                -     Example Berating other players for struggling in group content.
20          • Bullying                                                                                  .
21                -     Example: Taking part in our, encouraging others to be verbally negative towards
22                      another player.
23          • GRIEFING / TROLLING
24                 -    Example: Repeatedly dying in events to grief allied players.
25          • Impeding/Sabotaging group play"
26

27

28




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 1           47.    Plaintiff Declares that he was the target of all of these acts and violations, and n
 2    violations that are not .listed 'here. Plaintiff declares that he was the target of these acts
 3    violations repeatedly over the course of Seven months. It is .the duty of AMAZON to exercise
 4    care to the customer, in creating a safe online environment for players, as seen• here, even
 5    their own standards.
 6           48.    On September 9th 2023, Plaintiff contacted AG online chat 'support to follow up witl
 7    and to document more harassment and stalking within the game. AG employee DOE #3 "Mark'
 8    was disruptive to this process and unsympathetic telling Plaintiff "You should leave the server" ani
 9    then closing the webchat. Plaintiff recoiinected to the Webchat hoping to connect to a different anc
10    more helpful agent. Unfortunately, Plaintiff was connected to the same agent who immediatel~
11    opened, then closed the support center webchat. Again, in this instance Plaintiff was reaching ou
12    to AG and AMAZON for support to relieve him from being a target of Harassment, bullying
13    threats, stalking and- many other violations; Instead of AMAZON employee DOE #3 "Mark"
-14   intentionally closes the web support and skirts around, trying to~do the least to help someone wh~
15    is suffering grievances within their community.
16           49.    This is one fine example of how AMAZON employees•facilitated and participated
17    the cyberstalking, cyber-harassment; cyberbullying of the Plaintiff. It should be noted that fi
18    months after this event the Plaintiff was hospitalized' and diagnosed with Heart Failure. Plaini
19    declares that AMAZON is directly responsible and caused this permanent and life-alteri
20    disability.

21           50.    It should be noted that AMAZON staff, agents, employees participated in GRIEFIN
22    the Plaintiff, or causing the Plaintiff much grief, and sorrow, and caused him to have fear for
23.   wellness of his investments in game, and for the wellness of himself and his intellectual propel
24    after having invested substantially to create content across YouTube and Twitch; Plaintiff
25    created thousands and thousands of videos and content for the New World Community and Vi~
26    Game. -
27'

28




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... ....__... ... _._...- . .           .-. _ . .. .---..._ _ . .. .. . . .   . .. . ... .. . .. ... ..   .
             i _            •    51. Defendants acted with gross negligence, and with reckless disregard for the safety of th
           2       Plaintiff. Causing the Plaintiff to sustain life altering injuries and caused him to develop
           3       permanent and chronic disability. Exhibits of the video chat with AG/AMAZON employee "Mark"
           4       will be presented to the court with the motion for preliminary injunction, as these events were all
           5       connected and, well documented by the. Plaintiff. Plaintiff wiIl be motioning for a Preliminary
           6       Injunction for emergency injunctive relief and protections. •


           8

            9                                                           .      •FIFTH CAUSE OF ACTION

         10                                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
         ii            (IIED-due to culmination of events &final blow, DISCORD BAN, 12 days before hospitalization)
         12

         13                      52.   On November 8th 2023, Plaintiff was engaged in the New World Official Discord in a
         14        friendly game related discussion, when seemingly out of nowhere he was being forcibly timed out
         15        by some DISCORD administrator or someone lurking in-the DISCORD, among AG Community
         16        Management. JOHN DOE #1 "TrevzorFTW" was and is always online generally in DISCORD,
         17        and seems to take unusual pride in his status being at the very top above everyone else. Plaintiff
         18       •declares that AG Community Management worked in concert to discriminate against him and
         19        silence his speech which was not inappropriate.
         20                      53.   At this point Plaintiff began to feel like he was being targeted and stalked and
         21        directly harassed by AG Employees, as someone began to timeout his text inputs to DISCORD
         22        over and over. Plaintiff began to feel like he was being targeted, and stalked and directly harassed
         23        by AG Employees, because previous to this, we have evidence that AG Employees have told him to
          24       "leave the server" (referring to El-Dorado New World Game Server), and closed support chats
          25       over and again, as well as being stalked and harassed in game for many months.. Then being
          26       belittled and told to essentially quit the game when he asked for players to be investigated.
          27       Exhibits of the video recording of the support chat with "Mark" DOE #3, from AG online chat
          28       support will be provided with the complaint alongside motion for preliminary injunction.



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.   1           54. At this time Plaintiff began to express frustration with being timed out inq DISCORD
    2     noting that he wasn't saying anything wrong and the system and or Administration was causing
    3     him to be placed on Time-Outs over and over again repeatedly. Which reproductions of said time
    4     outs are to be included as Exhibits with the motion for preliminary injunction. After expressing
    5     frustration with these Time-outs Plaintiff was suddenly permanently banned from DISCORD, and
    6     tried multiple times to access the DISCORD• via a new Discord invite hyper-link.
     7           55.   It is important for the courts to note the seve"rity of the emotional distress that the
     s    Plaintiff began to suffer at this time, and in this moment. The moment that he was permanently
     9    banned for nothing. This is the moment that caused the Plaintiff the greatest height in his fear
    10    and panic, as it triggered intense anxiety and fear, triggering his PTSD, causing him to fear
    11    exceedingly for the welfare of his accounts in which Plaintiff has invested over 10,000 hours and
    12    over $1700 dollars.
    13           56.   In this one act, and abuse of power, by AMAZON/AG employees, Plaintiff began to -
    14    experience the greatest and most profound stress, as these fears began to consume him, knowing
    15    now that AMAZON/AG has the power to permanently ban him with impunity. At this moment
    16    someone, or some employees within Community Management, or Administration, targeted the
    17    Plaintiff and provoked a life changing series of events that would go on disabling him for the rest
    1a    of his life. The person or persons responsible for this act need to be appropriately named in this
    19    Complaint, when AMAZON, has sufficiently conducted its investigations.. Said investigations need
    20    to be brought forward to the court through due process and subpoena.,
    21.          57.   Although Plaintiffs actual New World Game accounts were not Banned in this
    22    he was essentially expelled from the community and game that he had very much loved and
    23    appreciated and invested so many hours in since 2021. Plaintiff perceived this act of unrighteous
    24    dominion to be a personal threat against himself, and his New World game accounts, again now
    25    witnessing that AG/AMAZON staff had power to permanently ban him from the community, witb
    26    impunity. Exhibits of Plaintiffs hours invested, and monetary investments are to be included with
    27    the•motion for preliminary injunction.                                             _
    2s




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i                   58.   AMAZON's shadow began to loom over him in this moment and changed his life
2            forever. In a hurricane of fear. and panic Plaintiff began to experience shortness of breath.
3            Approximately three months had passed since Plaintiff had complained (in August'2023) to AG
4            about in game harassment, bullying, and stalking. As the shadow of his adversary
5            (AMAZON/AG) began to loom over him he made a panic filled cry for help to Amazon Retail
 6           Customern Support, which phone call lasted a series of hours: And was one of many recorded
 7           phone calls that proceeded after. This particular cause of action, even now causes Plaintiff
 8           heaviness in his chest to recall and think about as he is drafting this Complaint. It was the
 9           moment that all the abuses of AMAZON fell onto him at once and he could no longer sustain the -
io           stress and anguish that had been building in the subsequent months.
11                  59. Plaintiff was admitted into Emergency Room Hospitilization 12 days after this event on
12           November 20th 2023, and diagnosed with Congestive Heart Failure due to 7 months of persistent
is           and gross Negligence, Intentional Infliction of Emotional Distress, Cyberstalking & Stalking,
14           Cyber Harassment & Harassment, Cyberbullying and Bullying; all these outrageous acts inflicted
15           upon him not only by players in the community but now directly by AG STAFF and AMAZON
16           Employees. Plaintiff would discover from a phone call with Amazon Retail on November 17th and
17           be told directly from an Amazon Employee investigating his case — that AMAZON STAFF "were
18           found manipulating your in-game experience". The exhibit of this phone call will be included witb
19           the motion for preliminary injunction.
20            .     60. Plaintiff felt something was very wrong, around the time he began to initiate reports in
21           August 2023,-and attempted to keep good records. However, it. is inevitable that some internal
22           investigations be conducted within AMAZON and Cyber forensics be conducted on the New
23           World server logs and these results be brought forward.by subpoena; in order to fully establish
24           the magnitude of AMAZON's gross negligence, in and through the processes and procedures of
25           discovery of evidence.
26

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1                                        SIXTH CAUSE OF ACTION
2                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
3        (Pleasfor help denied unto Plaintiff, exhausting himself in failed support loops, developing and
4                                              exacerbating CHF)
 5

 6           61.   During the days of November 8th through November 17th Plaintiff frantically tried to
 7    resolve this issue with DISCORD. Plaintiff was transferred to multiple different countries with a
 8    few AMAZON employees simply refusing to do anything and hanging up the phone. AMAZON
 9    has a record of all of these phone calls, as well as the Plaintiff. However, AMAZON's version may
10    provide details or clarity in conversation that Plaintiff's version does not and visa versa.
11    Therefore, both parties need to have the evidences brought to the court of these phone calls
12    willingly or by court order and subpoena.
13           62.   Plaintiff tried nearly a dozen times to iterate, and reiterate what he was experiencing
14    since May 2023, through November 8th 2023, but AMAZON Retail kept dodging the severity in
15    spite of Plaintiff asking repeatedly for escalated support, and investigations. With each failed
16    support line, transferring Plaintiff back into the abyss of AMAZON GAMES doomful support
17    system. Plaintiff discovered on November 10th - 17th that every.support ticket, every email, every
18    phone call was closed on the associate level and was never escalated. This was clearly;documented
19    and admitted by Amazon.com Inc., retail support on or about November 10th - 17th 2023. [Precise
20    date and phone call will be provided and Complaint amended when Plaintiff pinpoints the exact
21    phone call recording as there are many and need to be reviewed and organized for the Court and
22    motion for preliminary injunction.]
23.          63.   These AMAZON employees were not given proper training, or tools to handle
24    l complex or sensitive support issues. These employees were concerned primarily with productivity
25      and closing their support tickets as rapidly as possible, so as to disable the Plaintiff from ever
26    being able to receive any escalation, investigation, or true support.
27

28




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1            64.   AMAZON showed no shame, in sustaining a system that allows a customer to .
2    l repeatedly operi support"tickets; and be repeatedly and almost instantly shut down; and they
3    l would infinitely be prepared to close them and do nothing, while telling Plaintiff that he was a
4    I "valued Prime-Member".
5.           65.   These actions were both carried out by employees 'with reckless disregard, and
 6    intentional disregard for the safety of Plaintiff and frankly any customer that could have a similar
 7    issue, complex or sensitive in nature. The process of having to repeat oneself from the beginning _
 8    of each support thread, support ticket or support call is terribly disgraceful, and exhausting.
 9    These employees should have full transparency from the beginning (i.e. they should see the entire
10    support chain whether closed or not) and.different levels of priority should be assigned to complex
11    or sensitive cases. Or customers will continue to be stuck in an endless loop of nullified support,
12    worse having to repeat themselves, and to be transferred to the islands of the sea and far reaches
13    of the earth trying to communicate with outsourced employees wielding broken, distorted, and
14    rudimentary English. There is nothing more beautiful than cultural diversity and sharing of
15    opportunities for employment and industry, and giving people a chance at prosperity, and sharing
16    the American Dream with different peoples and nations; but in resolving complex and sensitive
17    issues AMAZON needs to allow customers the ability to speak clearly with other people who can
18    clearly understand them. AMAZON should allow customers to speak with associates of the same
19    mother tongue (primary language), especially in matters that are complex and sensitive.
20           66.   The support logistics for AMAZON customers trying to resolve problems in the
21    gaming and digital side of AIVIAZON, is again, literal "Amazon Hell". It doesn't matter how •
22    many thousands of dollars you-have purchased in pixels, (which they can infinitely generate at no
23    cost to the company AT ALL; yet players pay thousands of dollars for these), or how many years
24    you have been a "Prime-Member", AMAZON is not at all geared to accept complaints about the
25    behavior of its employees or escalating these issues. The complex waltz that the Plaintiff had to
26    navigate to finally find a needle in a haystack, to obtain a "Behavioral Investigation" over
27    employees was a desperate and terrible journey.
28




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i                   67.   This terrible and desperate journey was filled with numerous acts where
2            AMAZON'S atrocious policy, or altogether lack thereof, was symmetrical in causing Plaintiff to
3            suffer in desperation, and to begin having troubles breathing, and even verbalizing in support
4            chats, and phone calls that perhaps he might need to visit the VA or the hospital. The drone of

s            call centers and the clattering of keyboards and the pursuit of productivity drowned out any
 6           chance to truly be heard, on top of language barriers.
 7                  68.   Therefore how are we to establish intention when AMAZON'S appendages or its

 8           employees are rendered almost completely unconscious due to lack of policy and terrible

 9           conditions for the customer? What terrible conditions are these AMAZON employees in? What

io           conditions are they in when they must close support tickets, and policy doesn't allow them to

ii           escalate? Or perhaps this escalation denotes their work ethic is unacceptable [by Amazons
12           internal ratings on employees] and could put the employee in a bad situation and threaten their

13           employment? These collective variables make the problem even more complex, when the customer

14           simply just needs escalation or specialized support. We must hold AMAZON accountable for the

is           programing, the design and the ultimate composite will; of its own machine, which it has created.
16                  69.   This very machine, as it can be likened to a machine, when so many employees work

17           together negligently, and recklessly; this machine has complex elements of intention and the lack

18           thereof! Therefore, all these details need to be brought before the court and carefully examinedso

19           that the full intentions and culpability of AMAZON can be manifested.

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24                                                   [Proceed to the next page]
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 1                                     SEVENTH CAUSE OF ACTION
 2                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 3           (Amazon.Corporate agents hanging up the phone, dead-end support loop continued)
 4

 5         .70.   In attempts to escalate and reach a department that could understand the Plaintiff's
 6   issue, eventually, Plaintiff was able to find the .phone number to AMAZON CORPORATE. In a
 7   last-ditch effort to find someone or some means whereby to present these issues; someone who
 8   might understand them. At this point in the Plaintiff's exhausting odyssey, the mystery of how to
 9   •escalate a support ticket could be likened unto.., trying to solve a 7-Dimensional Rubik's Cube.
10   Plaintiff factually spoke with residents of the Philippines, Jamaica, India, [this portion needs to be
11   amended when the call logs are reviewed again, because there is a few more locations that Plaintiff
12   is unable to identify right now]. •
13          71.   The first corporate AMAZON agent provided basically dead-end support, again
14   there was nobody,, and no department [or at least these employees declined to assist], no
15   management, nothing. Eventually the first corporate AMAZON agent just hung up the phone,
16   which they do have the right to do, but only after providing or fulfilling some stipulation. [This
17   section needs to be amended when the call logs are reviewed, there is a certain Policy that
18   AMAZON corporate exercises for disconnecting calls, but only after X is fulfilled]. Plaintiff was
19   amidst asking and clarifying potential support channels when this agent disconnected the call.
20   '      72. . The second AMAZON corporate agent was easier to talk to but provided close to
21   dead-end support, attempting to refer Plaintiff to reach out to AG Developers over Linked-In, the
22   social media website. Surprisingly this was the closest [the Linked-In proposition] Plaintiff would
23   ever really come to being able to speak to a manager or upper management within AMAZON
24   GAMES—of course the prQbabifity of one of them seeing, let alone answering a DM over Linked-
25   In, or even trying to fathom that as reasonable support outlet is perplexing. Again AMAZON
26   employees hands were tied, or it was a series of misfortunate support call events, or both.
27

28




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      i           73. These phone calls to AMAZON CORPORATE occurred on, or near November llth,
      2    2023. 9 days before Plaintiff would be hospitalized and diagnosed with CHF. At the end of the
      3    day, this is still one adversary, AMAZON; taking the shape and form of many different
      4    employees, who are acting consciously and willfully to fulfill the will of the greater machine as a
      5    whole or as a hive mind. Just as we establish minimum contacts by presenting AMAZON as a
      6    resident or Citizen of a state or country to determine jurisdiction and venue; all these
      7    multicolored and multifaceted levels of neglect, reckless disregard, intentional infliction of
      8    emotional distress; all details should still be attributed to one whole. And when considering the
      9    complexity of that whole—and its power to oppress, defraud and administer malice—should be
    10     alarming to those who consider the liabilities... of such a complex machine. Especially when
    11     ~ profits are more valuable than people.
    • 12          74. In some cases these employees must also suffer, not just the customers. But sadly in
    13     other cases, these AMAZON employees delight in quarrelling. It's a dangerous game of roulette,
    14     especially if the needs of the customer are complex, or sensitive.
    15            75. Due to the complex nature of these interactions with so many employees, from so
    16     many departments, and finally being suffocated even at the corporate level, after Plaintiff traveled
    17     through a maze designed to oppress, we can only arrive to one conclusion; this is not only on the
    18     same level as intent, but its dangerously more gross. As it is effectively a machine, and a hive
    19     mind, with conscious and unconscious components, appendages, or elements. This invokes the
    20     question of how does one seek equitable relief against such a complex adversary?
    21

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    25                                                [Proceed to the next page]
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1                                      EIGHTH CAUSE OF ACTION
 2                                   AGGRAVATED HARASSMENT
 3                                 (Seven months ofin-game harassment)
 4

 5          76.   Plaintiff declares that between May 2023 and November 2023 for the approximate
 6   span of about Seven Months, Plaintiff was the subject to aggravated harassment, in the form of
 7   cyber harassment, in which random players, GUILDS, and AMAZON GAMES/AMAZON
 8   Employees participated in active GRIEFING AND.TROLLING methods; exploiting the poorly
 9   designed end-game mechanic mentioned herein as DDS.
10          77.   Plaintiff was accustomed to participating in 20-50 DUNGEONS or MUTATION
11   "lobbies" per week, (across two accounts bearing the same or similar character name so as to be
12   identified by the stalkers and TROLLS). These DUNGEONS can be described as the pinnacle of
13   New World's End-Game design. In which 5 players join in a "party", or "group" and undertake
14   certain obstacles and challenges for unique rewards. These DUNGEONS, in their highest
15   respective difficulty, require that each player should generally use all means.and advantages
16   available to them to succeed well. If one or more players are not prepared it could pose a more
17   difficult challenge. For this reason, there is a "gear score" requirement. At least 5 dungeons per
18   week would have at least one or more TROLLS, manipulating their gear score, to apply DDS—
19   making the DUNGEON not just difficult, but impossible to conquer.
20          78.   Because Plaintiff was very determined to succeed and win, he often shouldered the
21   blunt end of these attacks, internalizing, strategizing, wondering in frustration why he could
22   succeed with masterful ease vvith some groups, then other groups would be completely and utterly
23   destroyed.   It wasn't until about July or August that.Plaintiff began to suspect that something
24   wasn't right. It is difficult to quantify and describe how much anguish and turmoil was
25   experienced by the Plaintiff. As he had dedicated himself to not only succeeding and progressing
26   within New World, but also making content for New World. As the TROLLING grew more
27   intense, also did Plaintiff's inner turmoil. This caused Plaintiff to double down try even harder to
28   be successful, but still faifing miserably whenever DDS would be applied.



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              ...... _......._._...   ....
1           79.     It is difficult to describe in words how destructive DDS is to New World. This
 2   mechanic is also known generally as "Gear Score Scaling" among the high-end players. So many
 3   hundreds of lobbies, so many friendships or potential friendships are destroyed everyday because
 4   people do not realize that this mechanic is literally changing the entire d'ficulty of the
 5   DUNGEON in real-time. Due the very buggy and susceptible nature of the CryEngine (New
 6   World's Graphics Engine), DDS and "Gear Score Scaling" could occur randomly as well.
 7          80.     This seven-month period, was wrought with a very deep and poignant suffering as
 8   ~stress levels were internalized, and Plaintiff struggled to beat a game, that was impossible to win
 9   ~under the circumstances of DDS exploitation, and persistent harassment as random players,
lo   organized GUILDS, & AMAZON GAMES Employees TROLLED to GATEKEEP their positions
11   on the LEADERBOARDS. Again, this level of toxicity cannot be measured, the irrecoverable
12   damage that was inflicted not only to New World's player base but also to the Plaintiff.
13          81.     Things would have been dramatically different if the User Interface simply specified
14   that the DUNGEON's difficulty was being scaled, and by whom the DDS was triggered. However,
15   AMAZON GAMES chose to hide this mechanic behind the User Interface and make it a mystery
16   to understand. But alas the damage has already been done, and Plaintiff wishes very much to be
17   able to describe in greater detail the complexities of this Cause of Action—and all causes of action
18   contained in this Complaint, but other portions and Causes of Action need to be addressed too.
19   Plaintiff pleads for understanding of the court in the difficulty of describing a complex coding,
20   and technical issue, a design flaw mixed with many glitches. However, Plaintiff is determined to
21   provide everything in detail but must continue with the remaining body of "the Complaint.
22          82.     There is much evidence to support multiple counts or numbers of each of these
23   Causes of Action.. The overall faulty and highly exploitable design rendered Plaintiff and many
24   players as moving targets, for anyone who wanted to GRIEF. Unfortunately, cyberspace today is
25   filled with numberless TROLLS. As strange and new as this terminology may be to some,
26   Plaintiff wishes to urge to the court how very real these terms are [i.e., GRIEFING, TROLLING
27   and the terms in the GLOSSARY]. Plaintiff wishes to urge to the court how very real, and how
28   very destructive this type of behavior can be, and how destructive these malicious players can be.



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    1                                            NINTH CAUSE OF ACTION
    2                                            AGGRAVATED STALKING
    3                  •                       (Seven months of in-game stalking)
    4

     5           83.       Plaintiff declares that between May 2023 and November 2023 for the approximate
     6    span of about Seven Months, Plaintiff was the subject to aggravated stalking in the form of
    7     Cyberstalking. This is a disturbing and complex form of stalking and its elements have been
    8     fulfilled by the incessant and persistent threat the Plaintiff was subjected to during this time-
    9     period. These acts were perpetrated by random players looking for an opportunity to inflict
    10    GRIEF and suffering upon Plaintiff himself, and upon random DUNGEON lobbies. These acts
    11    were perpetrated by random TROLLS, organized groups, and GUILDS and by AMAZON
    12    GAMES/AMAZON employees.
    13           84.       The threatening element of this form of stalking is difficult to quantify. As Plaintiff
    14    experienced the threats to himself within the online world, and the grief, suffering and pain of
    15    these threats carried over into real• life, causing Plaintiff to develop CHF, and exacerbating
    16    Plaintiff's complex PTSD. These threats were not often verbal, rather they were actions, which
    17    caused Plaintiff to always fear for_the safety of himself, in the online world; for which he has
    18    created thousands of videos across YouTube and Twitch.                                        •




    19           85.       Plaintiff has made a small career in content creation ncross various social media
•   20   ~I platforms and across YouTube and Twitch. The constant threat of being harassed or stalked in
    21    game, caused Plaintiff to cease, for the most part in content creation. Because unfortunately the
    22    content would only feature the utter destruction of most of the Plaintiff's DUNGEON lobbies, and
    23    parties failing, to the constant threat of LEADERBOARD stalking and harassment, and the
    24    exploitation of DDS.                                                              •




    25           86.       Ultimately this constant stalking, combined with harassment, and bullying caused
    26    Plaintiff to develop CHF, and created additionally a life-threatening hospitalization.
    27
                                                                                                ld
    28




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 1                                         10t'' CAUSE OF ACTION
 2                                          GROSS NEGLIGENCE
 3    (AMAZON GAMES creating and perpetuating DDS and specifically neglecting it out of convenienc
 4

 5           87.   Due to AMAZON's faulty and highly exploitable technology, DDS, Plaintiff was the
 6    subject to online GRIEFING, bullying, harassment, and stalking. These acts were perpetrated by
• 7   random players looking for cheap thrills, random TROLLS, organized groups, GUILDS and
 8    AMAZON GAMES/AMAZON employees.
 9           88.   AMAZON GAMES has multiple studios. Three of which are located on the west-
10    coast. New World's E1-Dorado server belongs to a datacenter located in OREGON USA (West
11    Coast). Online-Gamers prefer to connect to servers that are closest to them, to prevent high ping
12    o'r "lag" when gaming. El-Dorado (Plaintiff's Server) is conveniently located on the US-West
13    Coast, where again, three AMAZON GAMES, Studios, connect to.
14           89. • On November 17th, Plaintiff was informed that AMAZON staff, had been
15    manipulating his in game experience. The full extent of such manipulation, requires full
16    disclosure from AMAZON's internal 6Gemployee behavioral department." In addition, cyber-
17    forensics needs to be conducted.to ascertain the full scope of this "manipulation". New World
18    Server Logs, Employees logs for generating in game assets, including spawning in Gold, instantly
19    leveling characters, all these facets of abuse by AMAZON GAMES employees needs to be audited,
20    investigated, and rightfully prosecuted.
21           90.   DDS existed persistently throughout the entire seven months span in which Plaintiff
22    was subjected to constant cyber abuses. AMAZON has a duty to care to the customer to create a
23    safe• online world as per its own standards and many laws throughout the state of California.
24    While the other causes of action before this one focused on the generalized negligence, within the
25    support system itself; this cause of action focuses on the creation, the existence, and perpetuation
26    of DDS and its easily exploited and faulty nature.
27

28




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1           91.    The results of said exploitations, resulting in traumatic and persistent emotional
2    distress being inflicted upon the Plaintiff. Plaintiff notified AMAZON GAMES in writing across
3    multiple e-mails, and submitted bug reports, as well as published videos on YouTube regarding
4    this technology. Yet to this day it remains the most parasitic bug [bug or glitch in computer
 5   programming terms] in New World.
6           92.    Due to the lack of care, breach of care to customer, and over all outrageous acts
 7   l committed against the Plaintiff, as a result of DDS, Plaintiff has developed CHF, and is
 8   ~ permanently disabled forlife.
 9

10                                           llth CAUSE OF ACTION
11                                           GROSS NEGLIGENCE
12                             (Collective gross negligence, dead-end support loop)
13

14           93.   As stated in the 7th Cause of Action, this cause reflects the negligent side of that
15    particular Cause of Action. In that after being transferred via phone support and being
16    completely shut down at every hand in his.petition, and pleas for help to relieve his suffering;
17    during this Seven month period—AMAZON and its many counterparts both employees,
18    departments, corporate offices, officers and agents, AMAZON GAMES and all of its employees
19   who interacted with the Plaintiff but neglected to escalate or provide support, equally bare and
20    are to blame for this amalgamation of Gross Negligence.
21           94.   This Complaint and civil suit, brings before the light of the law, curious questions
22    that need to be answered. Our lives in part, have been assimilated into a digital world, whose
23    actions have real life consequences.
24           95.   Once again, AMAZON had the duty and opportunity to provide support but grossly
25    neglected the Plaintiffs pleas and petitions on every hand. Plaintiff was backed against a wall an
26    has lost much, suffered greater, and according to statistical information and research, his life has
27   l been shortened significantly.
28




                           HAYMORE V. AMAZON.COM INC. * CONiPLAINT PAGE 30
          Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 34 of 45


1           96.   Plaintiff has wrestled through much to arrive to this point. Plaintiff pleas and prays
 2   before the. court to hear these Causes of Actions in court, and if possible to provide injunctive
 3   relief, and protections to ensure that a cry for justice is heard.
 4

 5          VI. INJUNCTIVE RELIEF AND PRAYER FOR SUPPLEMENTAL LEGAL AID
 6

 7          97.   Plaintiff pleads for injunctive relief, generally to prohibit AMAZON from retaliating
 8   against Plaintiff in the form of banning, abridging, suspending, or in any way negatively altering
 9   •current and existing AMAZON services which are presently in good standing. Plaintiff has
10   already suffered irreparable harms, and still yet can suffer more irreparable harms if AMAZON
11   • responds to this Complaint with any retaliatory acts.
12          98.   Plaintiff is preparing a motion for preliminary injunction to be served with
13   to AMAZON in hopes to protect himself from any retaliation, to preserve status quo, and to
14   •prevent any irreparable future harm due to the current looming and impending doom he is
15   from his experiences with AMAZON and AMAZON GAMES, together, as a whole. Plaintiff fears
16   for his safety, the safety of his investments and intellectual properties (content produced across
17   YouTube and Twitch), safety of his current AMAZON services and Game Accounts, which are all
18   in good standing as of the filing of this complaint.
19          99.   Plaintiff also has also found in his legal research a ruling in the Supreme Court
20   decision Turner v. Rogers (2012) which suggests "civil court proceedings have to be fundamenta113
21   fair, that courts should create forms to help pro se litigants participate fully in the justice system
22   and hinted that at least in some civil cases, the government might have to providefree legal assistance
23   to parties who cannot afford to hire a lawyer." If there is any truth to this research Plaintiff would
24   greatly benefit from and appreciate any help the Government or County Court system can
25   provide.                                                   .
26

27          [proceed to next page]
28




                          HAYMORE V. AMAZON.COM INC. * COMPLAINT PAGE 31
                Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 35 of 45


     1            100.     Plaintiff has declared his USARMY Veteran status, and disabled status in the
     2     complaint. Plaintiff lives below the poverty line and would appreciate the consideration of any
     3     rights and protections that may be.provided to him throughout this intense and complex legal
     4     process. Plaintiff would like to point out the disparities between his own financial and intellectual
     5     capabilities, representing himself pro se; as he faces a proverbial "Goliath", Amazon.com Inc., and
     6     its constituents with seemingly endless financial and legal capabilities as a Corporate Super-
     7     Power.
      8

      9              VII. PLEADING FOR COMPENSATORY DAMAGES, PUNITIVE DAMAGES
    10                                      AND REOUEST FOR JURY TRIAL
    11

    12              As a result of the actions of AMAZON as a multifaceted Machine of Malice, fraud and
    13     oppression, Plaintiff has sustained life altering injuries and paid a near ultimate price and has had
    14     his life expectancy significantly reduced, and life cut short.
    15              The many tentacles of AMAZON's Machine of Malice had nearly wringed all life from
    16     him, rendering the Plaintiff completely immobile, suffering from Congestive Heart Failure, Sepsis,
    17     organ shock and failure, Anemia, and other life-threatening complications when medical
    18     professionals were able to essentially resuscitate him— as family described his state as "Living-
    19     Dead".
    20              As a result of all the described conduct contained in the, body of this Complaint, and all the
    21     Causes of Actions contained therein; Plaintiff has suffered and continues to suffer great pains
    22     within his mind and, body and soul. Grief and Shock, exceeding emotional distress, coupled with
    23     fears and anxieties, post-sepsis syndrome, feelings of disgrace and reliving layers of trauma from
•   24     excruciating triggers related to Complex Post Traumatic Stress Disorder. Plaintiff experiences a
    25     grave depravation in the loss of enjoyment of life. Plaintiff has suffered and wiIl continue to•
    2. 6   experience ongoing suffering. Plaintiff will require surgeries in hopes to regain critical functions
    27     within the-organs of the body that suffered alongside with his heart—which the full extent of
    28     damages has yet to be determined. Plaintiff will undoubtedly require surgeries to regain lost life.



                                 HAYMORE V. AMAZON.COM INC. * COMPLAINT PAGE 32
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1          WHEREFORE, Plaintiff prays for a Jury trial and judgement against the Defendants, and
2    for each of the following items, DUE TO ALL CAUSES OF ACTION
3

4          1.    For past, present and future general damages; with interests and consideration of
5    economic inflations, and Demand for a Jury Trial;
6          2.    For past, present and future special damages, including but not limited to past,
 7   present and future lost earnings, economic damages and others, damage to intellectual properties;
 8   with interests and consideration of economic inflations;
 9          3.   For past, present, and future suffering, as Plaintiff is also witnessing the suffering of
10   his family members in mourning his life cut significantly shorter; with interests and consideration
11   of economic inflations;
12          4.   For past, present, and future medical expenses;, statutory damages, cost of suit, for
13   interest and inflation as permitted by law; medical expenses to secure future heart, lung, and
14   kidney transplants or surgeries as these organs begin to deteriorate along with the heart in cases
15   of CHF.
16          5. For emergency funeral expenses if Plaintiff passes away at any time due to
17   complications of CHF; For items 1-5 Plaintiff is pursuing $7 Billion Dollars USD in compensatory
1s   damages, for any and or all of these appropriate damages;
19          6. • For appropriate treble damages, and fmally for causing a permanent lifelong chronic
20   disabifity to the Plaintiff due to AMAZON.COM INC's terrible acts of Malice, Fraud and
21   Oppression, Plaintiff is pursuing the amount of $70 Billion Dollars USD in punitive and exemplar3
22   damages;
23          7.   For injunctive relief and for any further relief as the court may deem proper.
24


25


26


27                    DATE                    .       PLAINTIFF IN PRO PER
28




                          HAYMORE V. AMAZON.COM INC. * COMPLAINT PAGE 33
              Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 37 of 45
                              SUPIER]IOR COURT OF CALIFORNIA
                                          COUNTY OF SACRAMENTO
                                      SACRAMENTO, CALIFORNIA, 95814
                                             916-8745522
                                               WWW.SACCOURT.CA.GOV


                                   ALTERNATIVE DISPUTE RESOLUTION
                                        INFORMATION PACKAGE
Recognizing that many civil disputes can be resolved without the time and expense of traditional civil litigation, the
Superior Court of Califomia, County of Sacramento (Sacramento County Superior Court), strongly encourages parties in
civil cases to explore and pursue the use of Alternative Dispute Resolution.

What is Alternative Dispute Resolution?

Alternative Dispute Resolution (ADR) is the general term applied to a wide variety of dispute resolution processes which
are altematives to lawsuits. Types of ADR processes include:

•      Arbitration                        •   Private judging                     •   Mini-trials
•      Mediation              .           •   Neutral evaluation                  •   Negotiation and hybrids of these
•      Settlement Conferences                                                         processes

AII ADR processes offer a partial or complete altemative to traditional court litigation for resolving disputes. At the present
time, the Sacramento County Superior Court offers Mediation and Arbitration:

What are the advantages of using ADR?

ADR can have a number of advantages over traditional court litigation.

     * ADR can save time. Even in a complex case, a dispute can be resolved through ADR in a matter of months or
       weeks, while a lawsuit can take years.

     * ADR can save money. By producing earlier settlements, ADR can save parties and courts money that might
       otherwise be spent on litigation costs (attomeys fees and court expenses.)

     * ADR provides more participation. Parties have more opportunity with ADR to express their own interests and
       concems, while litigation focuses exclusively on.the parties' legal rights and responsibilities.

     * ADR provides more• control and flexibility. Parties can choose the ADR process most appropriate for their
       particular situation and that will best serve their particular needs.

     * ADR can reduce stress and provide greater satisfaction. ADR encourages cooperation and communication, while
       discouraging the adversarial atmosphere found in litigation. Surveys of disputants who have gone through ADR have
       found that satisfaction with ADR is generally high, especially among those with extensive ADR experience.

    Arbitration and Mediation

    Although there are many different types of ADR processes, the types most commonly used to resolve disputes in
    California state courts are Arbitration and Mediation. The Sacramento County Superior Court currently offers pre-
    screened panelists with experience and training in each of the following areas.        •

    Arbitration. An Arbitrator hears evidence presented by the parties, makes legal rulings, determines facts and makes an
    Arbitration award. Arbitration awards may be entered as judgments in accordance with the agreement of the parties or,
    where there is no agreement, in accordance with Califomia statutes. Arbitration can be binding if the parties so agree in
    writing. If there is no such agreement, either party can reject the Arbitration award and request a trial.




                                          Altemative Dispute Resolution Information Package
    CV\E-100 (Rev 05.30.2023)                       .                                                   Page 1 of 3
                Case 2:24-cv-00729-TLN-DB Document 1-1 Filedof03/08/24    Page 38 of 45
                                                       Court California, County of Sacramento
                                                                                                      Case Management

Mediation. Mediation is a voluntary, informal, confidential process in which the Mediator, a neutral third party, facilitates
settlement negotiations. The Mediator improves communication by and among the parties, helps parties clarify facts,
identify legal issues, explore options and arrive at a mutually acceptable resolution of the dispute.

Litigants are encouraged to use ah ADR process as early in the case as circumstances permit. All appropriate cases will
be reviewed for referral to ADR at the Case Management Conference(CMC).


                              ADR Procedures for the Sacramento County Sufaerior.Court
Upon filing a complaint or cross-complaint, the plaintiff/cross-complainant must acquire this information package•from the
Court's Website, http://www.saccourt.ca.gov, or the Superior Court Clerk. Plaintiff is required to include the ADR
Information Package when he or she serves the Complaint on the Defendant.

The court's ADR Panel List is available on-line at http://www.saccourt.ca.gov or may be obtained at the Civil Filing
Counter atfthe Gordon D. Schaber Sacramento County Courthouse, 720 Ninth Street, Room 101, Sacramento, CA
95814.

Mediation.
AII parties to the dispute may voluntarily agree to submit the case to a neutral Mediator, either through a court-
appointment or through a private arrangement. •The parties may choose either of the following Mediation choices:

             Private Mediation. Parties to a civil action agree to mediate their dispute with a Mediator of their choice
             without court assistance. The cost of Mediation must be borne by the parties equally unless the parties
             agree otherwise. Parties will be charged an amount as set by the Mediator (refer to the ADR Panel List
             for current rates).                                                             .

             Court Mediation. Upon stipulation of the parties, a Mediator and altemate Mediator will be selected from
             the court-approved list of neutrals (ADR Panel List). The court will confirm the selected Mediator and
             notice parties by mail.

             The Mediator is then responsible for contacting the parties to confirm a date, time, and place for
             Mediation. Mediators on the court's approved ADR Panel List have agreed to provide up to three (3)
             hours of pro-bono Mediation. In the event the Mediation extends beyond 3 hours and parties determine it
             would be beneficial to continue the Mediation process; the parties will independently be responsible for
             compensating the Mediator in an amount as set by the Mediator.

 UNLIMITED CIVIL CASES
     •       A Stipulation and Order to Mediation — Unlimited Civil Cases, Forrn CV\E-MED-179 (see aftached) may be filed
         •   with the court at any time up to 15 calendar days prior to the Case Management Conference.

     •       If the parties do not stipulate to Mediation prior to their CMC, they may indicate their•willingness to stipulate to
             Mediation at the CMC. In that event, parties must submit a Stipulation and Order to-Mediation — Unlimited Civil
             Cases within 14 calendar days after their CMC.

 LIMITED CIVIL CASES
    . Parties may select and conduct voluntary Private Mediation without notification to the Court.
     .       Parties may stipulate to court mediation by filing .a Stipulation and Order to Arbitration/Mediation - Limited Civil
             Cases form (CV\E-203) at any time after the filing of the Limited Civil Case Status Memorandum form (CV\E-202).
             This form is located on the court's website at http://www.saccourt.ca.gov. A Stipulation and Order to
             Arbitration/Mediation — Limited Civil Cases MUST be filed concurrently or subsequent to a Limited Civil Case
             Status Memorandum.                                                                           .




                                           Altemative Dispute Resolution Information Package
 CV\E-100 (Rev 01.01.14)                                                                                   Page 2 of 3
                Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 39 of 45
                                                Superior Court of California, County of Sacramento
                                                                                                        Case Management



Arbitration
UNLIMITED CIVIL CASES
   •    Plaintrff may elect, the parties may stipulate, or the judge may Order the case to Arbitration. Parties will be asked
        to select an Arbitrator and three altern.ate Arbitrators from the court's ADR Panel List. The court will send a
        Notice of Appointment and an appropriate Order to Arbitration to all parties.

    •       Arbitrations are conducted pursuant to California Rules of Court, rules 3.810 through 3.830, and Local Rules
            Chapter 2, Part 5. Unless otherwise stipulated, an Award of Arbitrator is not binding upon the parties provided
            that they file a timely Request for Trial De Novo pursuant to Califomia Rules of Court, rule 3.826. Upon the filing
            of a timely Request for Tr'ial De Novo, the case will proceed to a Trial-Setting Conference. If no timely Request
            for Trial De Novo is filed, judgment based upon the Award of Arbitrator will be entered pursuant to California
            Rules of Court, rule 3.827.

LIMITED CIVIL CASES                                            .
Arbitration may occur in a  limited  civil case  under the following circumstances:
    •    When all parties   stipulate  to  arbitration pursuant  to Code  of Civil Procedure section 1141.12. A stipulation for
         arbitration shall be filed using the Court's local form, Stipulation and Order to Arbitration/Mediation — Limited Civil
         Cases form (CV\E-203). A Stipulation and Order to Arbitration/Mediation — Limited Civil Cases MUST be filed
         concurrently or subsequent to a Limited Civil Case Status Memorandum form (CV\E-202).

        •   When plaintiff elects to refer the case to judicial arbitration. A written election by the plaintiff to submit an action or
            proceeding to arbitration shall be filed using the Court's local form, Limited Civil Case Status Memorandum form
            (CV\E-202).

Additional Information
For additional information regarding the Court's ADR program, please go to the Court's website
http://www.saccourt.ca.gov.




                                            Altemative Dispute Resolution Information Package
 CV\E-100 (Rev 01.01.14)                                                                                      Page 3 of 3
             Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 40 of 45

ATTORNEY OR PARTY WITHOUT ATTORNEY (NAME, STATE BAR # AND ADDRESS):                                           FOR COURT USE ONLY




TELEPHONE NO.                             FAX NO. (Optional)
EMAIL ADDRESS (Optional)
ATTORNEY FOR (NAME):
Superior Court of California, County of Sacramento
720 Ninth Street, Room 101
Sacramento, CA 95814-1380
(916) 874-5522—Website www.saccourt.ca.gov
PLAINTIFF/PETITIONER:                                                                               CASE MANAGEMENT CONFERENCE
                                                                                                    DATE:

DEFENDANT/RESPONDENT:
                                                                                                    CASE NUMBER:
        STIPULATION AND ORDER TO MEDIATION - UNLIMITED CIVIL
                                                                                                    ASSIGNED DEPT.:

     The parties and their attomeys stipulate that the claims in this action shall be submitted to the following mediation process:

    Type of Mediation (select one):                          .

    ❑      1. Court Mediation. Mediators on the court's approved ADR Panel List have agreed to provide up to three (3) hours ofpro-bono
    Mediation. ln the event the Mediation extends beyond 3 hours and parties determine it would be beneficial to continue the Mediation process: the
    parties will independentlybe responsible for compensating the Mediator in an amount as set by the Mediator.           .


    ❑      2. Court Mediation in lieu of previously ordered Arbitration. Mediator's on the court's approvedADR Panel Lisf have
    agreed to provide up to three (3) hours ofpro-bono Mediation. In the event the Mediation extends beyond 3 hours and patties determine it would
    be beneficial to continue the Mediation process: the parties will independently be responsible for compensating the Mediator in an amount as set
    by the Mediator.


    ❑     3. Private Mediation. Per LocalRule 2.84 the cost ofinediation must be borne by the parties equally unless the parties agree
    otherwise. Parties will be charged an amount as sef by. the Mediator.


    ❑      4. Private Mediation in lieu of p9reviously ordered Arbitration. Per Local Rule 2.84 the cost ofinediation must be bome
    by the parties equally unless theparties agree otherwise. Parties will be charged an amount as set by the Mediator.



    Neutral

    Court Neutral Selected:                                      Name
    (If type of Mediation selected above is option 1 or 2)

    Alternate Court Neutral Selected:                            Name
    (if type of Mediation selected above is option 1 or 2)

    Altemate Court Neutral Selected:                             Nam
    (If type of Mediation selected above is option 1 or 2)

    Private Neutral Selected:                                    Nam
    (If type of Mediation selected above is option 3 or 4)


    Other Stipulations

    ❑     Discovery to remain open 30 days prior to trial.

    Additional Stipulations:


                                           Stipulation and Order to Mediation — Unlimited Civil
 CV\E—MED-179 (Rev 01.01.14)                                                                                                        Page 1 of 3
 Local Form Adopted for Mandatory Use
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                                    STIPULATION AND ORDER TO MEDIATION - UNLIMTED CIVIL

     PLAINTIFF/PETITIONER:                                                                   CASE NUMBER:

     DEFENDANTIRESPONDENT:


               Name of Party Stipulating           Name of Party or Attomey Executing Stipulation          Signature of Party or Attorney
                                             Bar#
                                            Addre'ss


       ❑     Plaintiff ❑ Defendant ❑ Cross-Complainant ❑ Cross-Defendant Dated



               Name of Party Stipulating           Name of Party or Attorney Executing Stipulation         Signature of Party or Attomey
                                             Bar #
                                            Address


       ❑     Plaintiff ❑ Defendant ❑ Cross-Complainant ❑ Cross-Defendant Dated



                Name of Party Stipulating          Name of Party or Attomey Executing Stipulation          Signature of Party or Attomey
                                             Bar #
                                            Address


       ❑     Plaintiff ❑ Defendant ❑ Cross-Complainant ❑ Cross-Defendant Dated

       ❑       Additional Signature Page(s) Attached

                                                                        ORDER
The foregoing stipulation having been read and considered, and good cause appearing, nowi therefore:

❑          Stipulation and Order to Mediation deferred to Case Management Conference.                                        '
❑          The Court orders the parties to enter mediation as stipulated above, pursuant to Chapter Two — Part 5 of the Local Rules.
❑          Previously scheduled Case Management Conference is vacated.
❑          Previous order to Arbitration is vacated and appointment of Arbitrator rescinded.
❑          The case is ordered to the Trial-Setting Process. The Trial and Settlement Conference dates shall be selected no later than

❑          Trial-Setting Conference is vacated.
❑          Time to Select Trial date and Mandatory Settlement Conference date is extended to
❑          Mediation Status Conference set for:
                                                                    Date                            Time                 Department
❑          Stipulation. and Order to Mediation denied.
❑          It is further ordered that:



       Dated:                                                    Signed:
                                                                                       Judge of the Superior Court

                                              Stipulation and Order to Mediation - Unlimited Civil
    CV\E-MED-179 (Rev 01.01.14)                                                                                                     Page 2 of 3
    Local Form Adopted for Mandatory Use
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                                           STIPULATION AND ORDER TO MEDIATION

                                                      (Additional Signature Page)


 PLAINTIFF/PETITIONER:                                                                 CASE NUMBER:

 DEFENDANT/RESPONDENT:




         Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attomey
                                       Bar #
                                      Address



  ❑    Plaintiff ❑    Defendant ❑       Cross-Complainant ❑        Cross-Defendant Dated:




         Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attomey
                                       Bar #
                                      Address


   ❑   Plaintiff ❑ . Defendant ❑        Cross-Complainant ❑         Cross-Defendant Dated:




          Name of Party Stipulating          Name of Party or Attorney Executing Stipulation    Signature of Party or Attorney
                                       Bar #
                                      Address



   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:



          Name of Party Stipulating          Name of Party or Attomey Executing Stipulation     Signature of Party or Attomey     -
                                       Bar #
                                      Address



   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:



          Name of Party Stipulating         Name of Party or Attorney Executing Stipulation     Signature of Party or Attorney
                                       Bar#
                                      Address



   ❑    Plaintifr ❑   Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:




                                        Stipulation and Order to Mediation — Unlimited Civil.
CV\E-MED-179 (Rev 01.01.14)                                                                                              Page 3 of 3
Local Form Adopted for Mandatory Use
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                               SUPERIOR COURT OF CALIFORNIA
                                      County of Sacramento
                                         720 Ninth Street
                                    Sacramento, CA 95814-1380
                           (916) 874-5522—Website www.saccourt.ca.gov
                                             Pro.gram Case•Notice
                                               Unlimited. Civil Case

The Case Management Program (CMP) requires the following timelines to be met in all cases except those
that are excluded by California Rule of Court 3.712(b), (c) and (d) and Local Rule 2.46(B), (E) and (F).
                                                                                    .   -
                                                   __


Service of Summons        Summons, complaint and program case notice must be served on all named defendants and
                          proofs of service on those defendants must be filed with the court within 60 days from the filing
                          of the cQmplaint.
                          When the complaint is amended to add a new defendant, the added defendant must be served
                          and proofs of service must be filed within 30 days after the filing of the amended complaint.
                          A cross-complaint•adding a new party must be served and proofs of service must be filed with
                          the court 30 days from the filing of the cross-complaint.
Statement of              If a statement of damages pursuant to Section 425.11 of the Code of Civil Procedure or a
Damages                   statement of punitive damages is required, it must be served with the summons and complaint.
Responsive                 If a responsive pleading is not served within the time limits and no extension of time has been
Pleadings                  granted, the plaintiff within 10 days after the time for service has elapsed must file a request for
                           entry of default.
                           Parties may stipulate without leave of court to one 15-day extension beyond the 30-day time
                           period prescribed for the response after service of the initial complaint.
                     No extensions of time to respond beyond 105 days from the filing of the complaint may be
                     given.
Judgment by Default When default is entered, the party who requested the entry of default must apply for a default
                     judgment against the defaulting party within 45 days after entry of default, unless the court has
                     granted an extension of time.                                   •
Case Management  •   The  court will  provide  a notice of case management conference  on the filing parties at the time
Statement            that the case   is filed with the court. A case management statement  shall be filed at least 15
                   • calendar days prior to the date set for the case management conference.
Mediation Statement        The Mediation Statement.shall be filed concurrently with the Case Management Statement,
                           unless the parties have filed a Stipulation for Alternative Dispute Resolution form with the
                           ADR Administrator at any time up to 15 calendar days prior to the Case Management
                           Conference, as required by Local Rule 2.51(E).
Meet and Confer •          Parties must meet and confer, in person or by telephone as required in California Rules of
                           Court 3.724 at least 30 calendar days before the case management conference date.

Case Management            A case management conference is generally held within 180 days of the filing of the complaint.
Conference
Failure to comply with the program rules may result in the imposition of sanctions or an order to show cause.
Please refer to Local Rules Chapter Two — Part 4 for more information.                   .
        NOTE: THIS•NOTICE MUST BE SERVED WITH THE SUMMONS AND COMPLAINT.

                                    Program Case Notice (Unlimited Civil Case)
CV\E-143U (Rev 02.16.16)                                                                                         Page 1 of 1
Local Form Adopted for Mandatory Use
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                                                                                       CourtUseOnly
             SUPERIOR COURT OF CALIFORNIA
                COUNTY OF SACRAMENTO
 COURTHOUSE ADDRESS:
 Gordon D. Schaber Superior Court
 720 9th Street, Sacramento, CA 95814
 PLAINTIFF/PETITIONER:
 Andrew Grant Haymore
 DEFENDANT/RESPONDENT:
Amazon.com, Inc. et al
                  NOTICE OF CASE ASSIGNMENT                                 CASE NUMBER:
               AND CASE MANAGEMENT CONFERENCE                               24CV000231
                     (UNLIMITED CIVIL CASE)

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                     NOTICE OF CASE ASSIGNMENT

Pursuant to rule 3.734 of the California Rules of Court, this action is hereby assigned for limited purposes
to the judicial officers indicated below:

       PURPOSE ~`                 ASSIGNED JUDGE               COURTLOCATION               _DEPARTMENT
    LAW & MOTION                  Richard K. Sueyoshi            Hall of Justice                53

 CASE MANAGEMENT             .     Thadd A. Blizzard            Gordon D. Schaber                43
     PROGRAM                                                     Superior Court


Please refer to Chapter Two — Parts 3 and 4 of the Sacramento Superior Court Local Rules and the
Court's website for additional filing instructions and hearing reservation information.



                           NOTICE OF CASE MANAGEMENT CONFERENCE
Hearing Date
The above entitled action has been set for a case management conference at 8:30 AM on January 10,
2025 in Department 43 in accordance with California Rules of Court 3.722. You must be familiar with the
case and fully prepared to participate effectively in the case management conference.
Case Management Statement
All parties must file and serve a case management statement at least 15 calendar days before the case
management conference. Parties are encouraged to file a single joint case management statement.
Minimum Requirements
Prior to the filing of the case management statement, the parties should have done the following:
        Served all parties named in the complaint within 60 days after the summons has been issued
        Ensured that all defendants and cross-defendants have answered, been dismissed, or had their
        defaults entered
        Met and conferred with all parties as required by CRC 3.724 to discuss and resolve issues set
        forth therein.
                                                                                                  ~r-

                                    NOTICE OF CASE ASSIGNMENT
                                 AND CASE MANAGEMENT CONFERENCE
                                       (UNLIMITED CIVIL CASE)
          Case 2:24-cv-00729-TLN-DB Document 1-1 Filed 03/08/24 Page 45 of 45
 SHORT TITLE: HAYMORE vs AMAZON.COM, INC., et al.                       CASE NUMBER: 24CV000231


Tentative Ruling
Following its review of the case management statement(s), the court may determine that a case
management conference is not necessary. To determine whether an appearance is required, the parties
must check the court's tentative rulings after 2:00 p.m. on the Court day before the Friday calendar by
accessing the court's internet website at www.saccourt.ca.gov
Remote Appearances
Unless ordered to appear in person by the court, parties may appear remotely either telephonically or by
video conference via the Zoom video/audio conference platform with notice to the court and all other
parties in accordance with Code of Civil Procedure 367.75. If appearing remotely, parties are required to
participate in their hearing using a device that has video and/or audio capability (i.e. computer,
smartphone, or tablet). Although remote participation is not required, the court will presume all parties
are appearing remotely for non-evidentiary civil hearings.
Certification Filed in Lieu of Case Management Statement
If parties in the action file a certification on a form provided by the court at least 15 calendar days prior to
the date of the case management conference that the case is short cause (five hours or less of trial
time), that the pleading stage is complete and that the case will be ready for trial within 60 days, the case
will be exempted from any further case management requirements and will be set for trial within 60-120
days. The certification shall be filed in lieu of a case management statement.
Case Management Orders
At the case management conference, the court will consider whether the case should be ordered to
judicial arbitration or referred to other forms of Alternative Dispute Resolution. Whether or not a case
management conference is held, the court will issue a case management order shortly after the
scheduled conference date.
Service of Notice of Case Assignment and Case Management Conference
Unless otherwise ordered by the court, plaintiff shall serve a copy of this notice on any party to the
complaint appearing after the court issued this notice. The cross-complainant shall have the same
obligation with respect to the cross-complaint.
Compliance .
Failure to comply with this notice or to appear at the case management conference may result in the
imposition of sanctions (including dismissal of the case, striking of the answer, or payment of money).
Continuances
Case management conference(s) will not be continued except on a showing of good cause. If your case
management conference is continued on motion or by the court on its own motion all parties shall file and
serve a new case management statement at least 15 calendar days before the continued case
management conference.




Dated: 01/10/2024                                      By:
                                                                    f~C. ~o~inson~c:puty Cierk


                                  NOTICE OF CASE ASSIGNMENT
                               AND CASE MANAGEMENT CONFERENCE
                                     (UNLIMITED CIVIL CASE)
